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                       Exhibit 3
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December 16, 2021

Mr. Peter K. Navarro
Professor Emeritus
Paul Merage School of Business
University of California, Irvine
4293 Pereira Drive
338 GSM, Mail Code: 3125
Irvine, CA 92697
By EMAIL

Dear Mr. Navarro:

I write on behalf of the Archivist of the United States, who heads the National Archives and
Records Administration (NARA). Under the Presidential Records Act (PRA), at the end of each
Presidential Administration, NARA assumes complete custody and control of all Presidential
records created and received by the President, the Vice President, and all White House
employees during the course the Administration. The PRA also requires that whenever a White
House employee creates or receives a Presidential record using a non-official electronic message
account, they must copy or forward a complete copy of the records to their official electronic
messaging account within 20 days. 44 U.S.C. 2209(a).

It has come to our attention that while you were a White House employee of the Trump
Administration, you sometimes carried out official business using a non-official email account,
pknavarro@protonmail.com. (See September 14, 2021, Letter to you from Chairman James E.
Clyburn, House Select Subcommittee on the Coronavirus Crisis.) The select subcommittee
posted multiple examples of emails that meet the definition of Presidential records and were sent
to and from your protonmail.com email account, dating from as early as February 2020. We
have conducted a search of the White House emails that NARA received at the end of the Trump
Administration and have no record of you forwarding any emails from your protonmail.com
account to your who.eop.gov account before June 2020. There are also multiple instances where
you sent emails from your personal account to other White House employees but did not copy or
forward them to your official account.




                                                                         GARY M. STERN
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The Counsel to President Trump issued a memo on Presidential Records Act Obligations to all
White House Personal, which stated the following (emphasis in original):

       You are required to conduct all work-related communications on your official
       EOP email account, except in emergency circumstances when you cannot access the
       EOP system and must accomplish time sensitive work. Emails and attachments sent to
       and from your EOP account are automatically archived.

       If you ever send or receive email that qualifies as a presidential record using any other
       account, you must preserve that email by copying it to your official EOP email account
       or by forwarding it to your official email account within twenty (20) days. After
       preserving the email, you must delete it from the non-EOP account. Any employee who
       intentionally fails to take these actions may be subject to administrative or even
       criminal penalties.

       The same rules apply to other forms of electronic communication, including text
       messages. You should not use instant messaging systems, social networks, or other
       internet-based means of electronic communication to conduct official business without
       the approval of the Office of the White House Counsel. If you ever generate or receive
       presidential records on such platforms, you must preserve them by sending them to your
       EOP email account via a screenshot or other means. After preserving the
       communications, you must delete them from the non-EOP platform.

The requirements of the PRA continue to apply even after the President and his staff leave office.
Accordingly, it is necessary that you now provide NARA with any Presidential records that
reside on your personal electronic messaging accounts.

Please contact me as soon as possible so that we can make appropriate arrangements to transfer
the Presidential records that remain in your custody. I would be happy to discuss this issue with
you directly. You can reach me on my cellphone at 240-475-2816.

Sincerely,



Gary M. Stern
General Counsel




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